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11:06 am, Oct 14 2021
AT BALTIMORE
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND         ATTACHMENT A2 – Instagram, Inc.
BY ______________Deputy


    This warrant applies to information associated with the Instagram account “aik_swoo” at

https://www.instagram.com/aik_swoo/ that is stored at premises owned, maintained, controlled,

or operated by Facebook, Inc., and headquartered at 1601 Willow Rd, Menlo Park, CA 94025.
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                              ATTACHMENT B2 - Instagram, Inc.

I.     Files and Accounts to be produced by Instagram, Inc. for the period August 23, 2005
to the present.

To the extent that the information described in Attachment A2 is within the possession, custody,
or control of Instagram including any messages, records, files, logs, images, videos, or information
that have been deleted but are still available to Instagram or have been preserved, Instagram is
required to disclose the following information to the government for each account or identifier
listed in Attachment A2:
         1.     All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, email addresses,
records of session times and durations, the date on which the account was created, the length of
service, the IP address used to register the account, log-in IP addresses associated with session
times and dates, account status, e-mail addresses provided during registration, methods of
connecting, log files, and means and source of payment (including any credit or bank account
number);
         2.     Subscriber information for all other accounts linked to the Target Accounts,
including by email address, phone number, Instagram or third-party cookies and machine cookies,
unique device identifiers, or any other means by which Instagram links accounts that appear to
have a common user;
         3.      All information automatically recorded by Instagram from a user’s Device,
including its software and all activity using the Services, to include, but not limited to: a utilizing
device’s IP address, browser type, web page visited immediately prior to connecting to the
Instagram website, all information searched for on the Instagram website, locale preferences,
identification numbers associated with connecting devices, information regarding a user’s mobile
carrier, and configuration information;
         4.     The types of services utilized by the user;
         5.     All files and records or other information stored by an individual using the account,
including all images, videos, documents, communications and other files uploaded, downloaded
or accessed using the Instagram service, including all available metadata concerning these files;
         6.     All records pertaining to communications between Instagram and any person
regarding the account, including contacts with support services and records of actions taken;
         7.     All data and information associated with the personal page and/or profile page,
including photographs, videos, audio files, lists of personal interests and preferences, including
hashtags;
         8.     A complete list of all users who are followed by the accounts and a list of all users
who are following the accounts, including every user name, user identification number,
corresponding email address, physical address, and date the user joined Instagram;
         9.     All photos, videos, messages and other files to which the accounts have been added,
tagged, or associated, including any hashtags or captions associated with each photo, a list of all
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user who “liked” each photo, a list of each user who commented on each photo, and the substance
of each comment regarding each photo;
        10.     All photos, videos, messages and other files posted, screen shot, sent, received, or
stored by the accounts, including the contents of all posts and direct or private messages, including
any metadata, geotags, hashtags, captions, or comments associated with the content, a list of all
users who “liked” or commented on each photo, video, or post, the usernames of any other user
added to or tagged in each photo, video, comments;
        11.     All location data associated with the account;
        12.     All data and information that has been deleted or marked for deletion by the user;

II.    Information to be seized by Law Enforcement Personnel

Any and all records that relate in any way to the account(s) described in Attachment A2 which is evidence,
fruits, and instrumentalities of violations of 18 U.S.C. §§ 641 and 1343, specifically that relate to the
following:

        a.      All records or other information;
        b.      All images, messages, communications, calendar entries, and contacts, including
any and all preparatory steps taken in furtherance of these crimes;
        c.      Communication, information, documentation and records relating to who created,
used, or communicated with the account(s) or identifier(s), including records about their identities
and whereabouts;
        d.      Evidence of the times the account(s) or identifier(s) listed in Attachment A2 were
used;
        e.      All images, messages and communications regarding wiping software, encryption
or other methods to avoid detection by law enforcement;
        f.      Passwords and encryption keys, and other access information that may be necessary
to access the account(s) or identifier(s) and other associated accounts;
        g.      Credit card and other financial information, including but not limited to, bills and
payment records evidencing ownership of the subject account(s);

With respect to the search of the information provided pursuant to this warrant, law enforcement
personnel will make reasonable efforts to use methods and procedures that will locate and expose
those categories of files, documents, communications, or other electronically stored information
that are identified with particularity in the warrant while minimizing the review of information not
within the list of items to be seized as set forth herein, to the extent reasonably practicable. If the
government identifies any seized communications that may implicate the attorney-client privilege,
law enforcement personnel will discontinue its review and take appropriate steps to segregate all
potentially privileged information so as to protect it from substantive review. The investigative
team will take no further steps regarding any review of information so segregated absent further
order of the court. The investigative team may continue to review any information not segregated
as potentially privileged.
